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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 4.1.1
                               Eastern Division

Federal Trade Commission
                                       Plaintiff,
v.                                                      Case No.: 1:10−cv−06123
                                                        Honorable Ronald A. Guzman
American Tax Relief LLC, et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, November 5, 2010:


         MINUTE entry before Honorable Arlander Keys: Status hearing held. By
agreement of the parties, and as discussed in open court today, the Receiver is directed to
transfer forthwith to Sheppard, Mullin, Richter & Hampton, the funds seized from the
trust account held on behalf of ATR. Those funds will remain intact in that trust account
and will not be allocated or transferred pending this Courts final ruling on the attorneys
fees issue. Further, on that issue, the FTC is to file its brief by November 10, 2010; the
defendants are to file their response by November 15, 2010, and the FTC will file its
reply, if any, by November 17, 2010. The Receiver shall file his brief on the issue by
November 10, 2010. (ac, )




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